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UNITED STATES DISTRICT COURT                         SOUTHERN DISTRICT OF TEXAS

                                WRIT OF EXECUTION

To the UNITED STATES MARSHAL for the Southern District of Texas:

        In Civil Action Number
                                               4:21-cv-00289
         In this Division                      Houston

Which was styled:
Genesis Marine, LLC
                                          -versus-
SGR Energy, Inc.

This judgment creditor:
Genesis Marine, LLC


                    Recovered a judgment of      $
                                                     2,461,996.03

                               Plus costs of     $

           Which judgment was entered on         09/08/2021

                       And bears interest at     5.00    %

From this judgment debtor:
SGR Energy, Inc.


You are commanded to take of the goods, land and chooses-in-action of the judgment
debtor enough to pay the judgment in full and the cost of this writ. Fail not, and return
this writ, certifying how you executed it.

                                                                United States District Court
                                                                 Southern District of Texas

                                                                       CLERK OF COURT

                                       By: ______________________________________
                                                                        Deputy Clerk
                                         Date Issued: _____________________________
